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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                         §
    In re:                                               §       Chapter 11
                                                         §
    AUDACY, INC., et al.,                                §       Case No. 24-90004 (CML)
                                                         §
                                                         §       (Jointly Administered)
                              Debtors.1                  §
                                                         §

                               NOTICE OF FILING OF
                   THIRD SUPPLEMENT TO THE PLAN SUPPLEMENT
             FOR THE JOINT PREPACKAGED PLAN OF REORGANIZATION FOR
                      AUDACY, INC. AND ITS AFFILIATE DEBTORS
                   UNDER CHAPTER 11 OF THE BANKRUPTCY CODE

        PLEASE TAKE NOTICE that, as contemplated by the Joint Prepackaged Plan of
Reorganization of Audacy, Inc. and Its Affiliate Debtors Under Chapter 11 of the Bankruptcy Code
[Docket No. 24] (as may be amended, modified, or supplemented from time to time, and including
all exhibits and supplements thereto, the “Plan”),2 the above-captioned debtors and debtors-in-
possession (collectively, the “Debtors”) hereby file certain of the documents comprising the Plan
Supplement as the exhibits attached to this Notice with the United States Bankruptcy Court for the
Southern District of Texas (the “Court”). Capitalized terms used but not defined herein have the
meanings set forth in the Plan.

         PLEASE TAKE FURTHER NOTICE that on February 5, 2024, the Debtors filed the
initial Plan Supplement [Docket No. 225] (the “Initial Plan Supplement”).

        PLEASE TAKE FURTHER NOTICE that on February 13, 2024, the Debtors filed the
first supplement to the Plan Supplement [Docket No. 255] (the “First Supplement to the Plan
Supplement”).

       PLEASE TAKE FURTHER NOTICE that on February 17, 2024, the Debtors filed the
second supplement to the Plan Supplement [Docket No. 279] (the “Second Supplement to the
Plan Supplement”).




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      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/Audacy (the “Case Website”). The location of the Debtors’
      corporate headquarters and service address for purposes of these chapter 11 cases is: 2400 Market Street, 4th Fl,
      Philadelphia, PA 19103.
2
      Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Plan.
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        PLEASE TAKE FURTHER NOTICE that the Debtors hereby file the third supplement
to the Plan Supplement (the “Third Supplement to the Plan Supplement”).

        PLEASE TAKE FURTHER NOTICE that the Third Supplement to the Plan Supplement
includes the following exhibits (in each case, as may be amended, modified, or supplemented from
time to time):

     EXHIBIT                                                DOCUMENT
          F             New Governance Documents
         F-1            Redline of New Governance Documents3

         Any remaining exhibits to the Plan Supplement will be filed with separate notices.

        PLEASE TAKE FURTHER NOTICE that these documents remain subject to continuing
negotiations in accordance with the terms of the Plan and the Restructuring Support Agreement
and the final versions may contain material differences from the versions filed herewith. For the
avoidance of doubt, the parties to the Restructuring Support Agreement have not consented to such
documents as being in final form and reserve all rights in that regard. Such parties reserve all of
their respective rights with respect to such documents and to amend, modify, or supplement the
Plan Supplement and any of the documents contained therein through the Effective Date in
accordance with the terms of the Plan and the Restructuring Support Agreement. To the extent
material amendments or modifications are made to any of these documents, the Debtors will file a
redline version with the Court prior to the hearing to consider confirmation of the Plan and the
adequacy of the Disclosure Statement (the “Combined Hearing”).

       PLEASE TAKE FURTHER NOTICE that the Plan Supplement is integral to, part of,
and incorporated by reference into the Plan. Please note, however, these documents have not yet
been approved by the Court. If the Plan is confirmed, the documents contained in the Plan
Supplement (including any amendments, modifications, or supplements thereto) will be approved
by the Court pursuant to the order confirming the Plan.

       PLEASE TAKE FURTHER NOTICE that the Combined Hearing is scheduled to
commence on February 20, 2024 at 2:30 p.m. (Prevailing Central Time) before Judge
Christopher M. Lopez of the United States Bankruptcy Court, Southern District of Texas,
515 Rusk Street, Houston, Texas 77002. The Combined Hearing may be continued by the
Court or by the Debtors without further notice other than by announcement of the same in
open court and/or by filing and serving a notice of adjournment.

        PLEASE TAKE FURTHER NOTICE that the copies of the documents included in the
Plan Supplement or the Plan, or any other document filed in the Chapter 11 Cases, may be obtained
free of charge by visiting the Case Website at https://dm.epiq11.com/Audacy. You may also
obtain copies of any pleadings filed in the Chapter 11 Cases through the Court’s electronic case
filing system at https://www.txs.uscourts.gov/page/bankruptcy-court using a PACER password (to

3
    This redline reflects revisions to the New Governance Documents attached as Exhibit F to the First Supplement
    to the Plan Supplement.
                                                        2
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obtain a PACER password, go to the PACER website at http://pacer.psc.uscourts.gov), or on the
website maintained by the Solicitation Agent at https://dm.epiq11.com/Audacy.


       THIS NOTICE IS BEING SENT TO YOU FOR INFORMATIONAL PURPOSES
ONLY. IF YOU HAVE QUESTIONS WITH RESPECT TO ANYTHING STATED
HEREIN OR IF YOU WOULD LIKE TO OBTAIN ADDITIONAL INFORMATION,
PLEASE CONTACT THE NOTICE AND CLAIMS AGENT BY (A) CALLING (877) 491-
3119 (TOLL FREE) OR, FOR INTERNATIONAL CALLERS, +1 (503) 406-4581, OR (B)
EMAILING AUDACYINFO@EPIQGLOBAL.COM.          PLEASE NOTE THAT THE
NOTICE AND CLAIMS AGENT CANNOT PROVIDE LEGAL ADVICE.




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    Dated: February 20, 2024


    Respectfully submitted,                                George A. Davis (NY Bar No. 2401214)
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                              Counsel to the Debtors and Debtors in Possession




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     Not admitted to practice in Illinois. Admitted to practice in New York.
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                               CERTIFICATE OF SERVICE

       I certify that on February 20, 2024, a true and correct copy of the foregoing document was
served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas on those parties registered to receive electronic notices.


                                             /s/John F. Higgins
                                            John F. Higgins




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